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                Exhibit 1
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                            CASE NO. 23-21023-CIV-ALTONAGA/Damian

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,

           Plaintiffs,

    v.

    KEVIN PAFFRATH, GRAHAM STEPHAN,
    ANDREI JIKH, JASPREET SINGH, BRIAN
    JUNG, JEREMY LEFEBVRE, TOM NASH,
    BEN ARMSTRONG, ERIKA KULLBERG,
    CREATORS AGENCY, LLC,

           Defendants.
                                                      /

          PLAINTIFF’S FIRST SET OF SEVEN REQUESTS FOR PRODUCTION TO
                           DEFENDANT JASPREET SINGH

            Plaintiff, pursuant to Fed. R. Civ. P. 26 and 34, requests that Defendant, Jaspreet Singh

     (“Singh”), produce the documents requested in response to these seven requests.

           Dated: May 17, 2023                            Respectfully submitted,

                                                      By: /s/ Adam Moskowitz
                                                      Adam M. Moskowitz
                                                      Florida Bar No. 984280
                                                      adam@moskowitz-law.com
                                                      Joseph M. Kaye
                                                      Florida Bar No. 117520
                                                      joseph@moskowitz-law.com
                                                      THE MOSKOWITZ LAW FIRM, PLLC
                                                      2 Alhambra Plaza, Suite 601
                                                      Coral Gables, FL 33134
                                                      Telephone: (305) 740-1423

                                                      By: /s/Stuart Z. Grossman
                                                      Stuart Z. Grossman
                                                      Florida Bar No. 156113
                                                      Manuel A. Arteaga-Gomez
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                                                          Florida Bar No. 18122
                                                          GROSSMAN ROTH YAFFA COHEN, P.A.
                                                          2525 Ponce de Leon Boulevard, Suite 1150
                                                          Coral Gables, FL 33134
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                                                          Fx: 305-285-1668
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                                                          aag@grossmanroth.com

                                                          By: /s/ Stephen Neal Zack
                                                          Stephen Neal Zack
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                                                          Tyler Ulrich
                                                          Florida Bar No. 94705
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                                                          By: /s/ Jose Ferrer
                                                          Jose Ferrer
                                                          Florida Bar No. 173746
                                                          Michelle Genet Bernstein
                                                          Florida Bar No. 1030736
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                                                          eservice@markmigdal.com

                                                          Co-Counsel for Plaintiffs and the Class


                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 17, 2023, a true and correct copy of the foregoing was

    sent via electronic mail to counsel for Defendants.


                                                  By: /s/ Adam M. Moskowitz______
                                                     ADAM M. MOSKOWITZ


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                                 DEFINITIONS AND INSTRUCTIONS

     Unless otherwise specified, the terms set forth below have the following meanings:

            1.       “Singh,” “You,” or “Your” means Defendant Jaspreet Singh and any of his

     affiliates, representatives, or agents.

            2.       “Co-Defendants” means any of the other Defendants sued in this Action, and any

     of their affiliates, subsidiaries, divisions, segments, predecessors, successors, officers, directors,

     employees, representatives, or agents.

            3.       “FTX Entities” means West Realm Shires Services, Inc., FTX Trading Ltd,

     Blockfolio, Inc., Alameda Research, LLC, and any of their affiliates, subsidiaries, divisions,

     segments, predecessors, successors, officers, directors, employees, representatives, or agents.

            4.     “FTX Platform” refers to the FTX Entities’ mobile application and/or web-based

     cryptocurrency investment service that places cryptocurrency trade orders on behalf of users.

            5.     “YBAs” refers to the Yield-Bearing Accounts offered by the FTX Entities on the

     FTX Platform.

            6.     “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

     ecosystem.

            7.       “Document(s)” means any written, printed, typed or other graphic matter, of any

     kind or nature, whether in hard copy or electronic format, whether the original, draft, or a copy

     and copies bearing notations or marks not found on the original, including but not limited to

     memoranda, reports, recommendations, notes, letters, envelopes, post-its, emails, telegrams,

     messages, manuscripts, studies, analyses, tests, comparisons, books, articles, pamphlets,

     magazines, newspapers, booklets, circulars, bulletins, notices, instructions, minutes,

     agreements, contracts, and all other written communications, of any type, including inter and



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     intra-office communications, purchase orders, invoices, bills, receipts, questionnaires, surveys,

     charts, graphs, videos, photographs, sketches, drawings, house sheets, tapes, voice messages or

     other recordings, print-outs or compilations from which information can be obtained or, if

     necessary, translated through detection devices into reasonably usable form, including all

     underlying or preparatory materials and drafts thereof.

            8.       Unless otherwise stated in a request, the time period for which you must respond

     is beginning in January 1, 2019 and ending at the present time.

             9.      “Person” or “People” means any natural person(s) or any business, legal, or

     governmental entity (or entities) or association(s).

             10.     All/Each – The terms “all” and “each” shall be construed as meaning either all

     or each as necessary to bring within the scope of the discovery request all responses that might

     otherwise be construed to be outside its scope.

             11.     Objections: Where an objection is made to any request, the objection shall state

     with specificity all grounds. Any ground not stated in an objection within the time provided by

     the Federal Rules of Civil Procedure, or by the Court’s order, or any extensions thereof, shall be

     waived.

             12.     Whenever a reference to a business entity appears, the reference shall mean the

     business entity, its affiliated companies, partnerships, divisions, subdivisions, directors, officers,

     employees, agents, clients or other representatives of affiliated third parties.

                                             INSTRUCTIONS

    1.     Production of documents and items requested herein shall be made at the offices of The

           Moskowitz Law Firm, P.O. Box 141609, Coral Gables, FL 33114, or for hand deliveries

           at 251 Valencia Ave #141609, Coral Gables, FL 33114, or via electronic mail to the email




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         addresses provided in the signature blocks of the attorneys serving these requests.

    2.   These requests shall include all documents that are in the possession, custody or control of

         Defendant or in the possession, custody or control of the present or former agents,

         representatives, or attorneys of Defendant, or any and all persons acting on the behalf of

         Defendant, or its present or former agents, representatives, or attorneys.

    3.   For any document covered by a request that is withheld from production, Defendant shall

         provide the following information in the form of a privilege log:

                        a.      the reasons and facts supporting any withholding;

                        b.      the date such document was prepared;

                        c.      the names, employment positions and addresses of the author or

                                preparers of such document;

                        d.      the names, employment positions, and the addresses of each person

                                who received such document;

                        e.      the title and a brief description of the document; and

                        f.      the number of the request under which such document would be

                                produced but for the objection.

    4.   If any document responsive to a request has been destroyed, produce all documents

         describing or referencing:

                        a.      the contents of the lost or destroyed document;

                        b.      all locations in which any copy of the lost or destroyed document

                                had been maintained;

                        c.      the date of such loss or destruction;

                        d.      the name of each person who ordered, authorized, and carried out




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                                the destruction of any responsive document;

                        e.      all document retention and destruction policies in effect at the time

                                any requested document was destroyed; and

                        f.      all efforts made to locate any responsive document alleged to have

                                been lost.

    5.   In producing the documents requested, indicate the specific request(s) pursuant to which

         document or group of documents is being produced.

    6.   These requests should be deemed continuing, and supplemental productions should be

         provided as additional documents become available.

    7.   All documents are to be produced in the following method:

           a) Single page .TIFF

           b) Color .jpg (Documents wherein reflection of importance relies on color, shall be

              produced in .jpg format)

           c) OCR at document level (All documents are to be provided with searchable text files

              with the exception of the redacted portions of redacted documents)

           d) Electronic documents and Emails are to be processed and converted from the

              electronic format to single page tiff




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                                SEVEN REQUESTS FOR PRODUCTION
         Please refer to the Definitions and Instructions when responding to these requests. To the
             extent that any of these requests seek information considered by Defendants to be
         confidential, Plaintiffs agree to enter into any reasonable confidentiality agreement with
                        Defendants to protect such alleged confidential information.
              1.      All Documents and Communications, including contracts or agreements,

    regarding any business You (personally or through any entity owned by You, or any of Your or

    Your entities’ affiliates, representatives, employees, or agents) conducted with the FTX Entities,

    including all documents and communications regarding any payments made to You (personally

    or to any entity owned by You, or any of Your or Your entities’ affiliates, representatives,

    employees, or agents) in accordance with any such contract or agreement.

               2.     All videos or other content You (personally or through any entity owned by You,

        or any of Your or Your entities’ affiliates, representatives, employees, or agents) produced

        regarding, relating to, and/or mentioning the FTX platform, FTT, and/or YBAs, including videos

        or content that have been removed from their public-facing platforms. 1

               3.     All Documents and Communications, that show, evidence and/or relate to

        Defendant “targeting” Defendant’s Florida audience, and Florida’s FTX consumers.

              4.      All Documents and Communications regarding any and all communications

    between You (personally or through any entity owned by You, or any of Your or Your entities’



    1
      Any such videos and/or content either should still be saved on Defendants’ hard drives and
    preserved for use in this litigation, or should still be on the private-facing portions of their social
    media platforms—for instance, Defendants could have set a video they posted on YouTube to
    “private” so it no longer is publicly viewable or searchable but is still posted on their account.
    “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
    property for another’s use as evidence in pending or reasonably foreseeable litigation.” Graff v.
    Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009). “The duty to preserve relevant
    evidence is triggered not only when litigation is pending, but also when it reasonably foreseeable
    to that party.” Title Cap. Mgmt., LLC v. Progress Residential, LLC, No. 16-21882-CV, 2017 WL
    5953428, at *4 (S.D. Fla. Sept. 29, 2017).


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    affiliates, representatives, employees, or agents) with the FTX Entities regarding promotion of

    FTT, YBAs or the FTX Platform.

           5.      All Documents regarding any and all due diligence You (personally or through

    any entity owned by You, or any of Your or Your entities’ affiliates, representatives, employees,

    or agents) conducted before promotion of FTT, YBAs or FTX Platform to the public.

           6.      All Documents and Communications between You and any of the Co-Defendants

    in this Action regarding this lawsuit and/or the subject matter of this lawsuit, including the

    promotion of FTT, YBAs or the FTX Platform.

           7.      All Documents that show, evidence and/or relate to Your purchases, ownership,

    or control of FTT, including any wallet addresses controlled by You related to your FTT holdings.




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